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                Exhibit 1
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BALESTRIERE
  FARIELLO

   BALESTRIERE FARIELLO
   225 Broadway, 29th Floor
   New York, NY 10007
   T: +1.212.374.5400
   F: +1.212.208.2613
   info@balestrierefariello.com
   www.balestrierefariello.com


                                                                         August 21, 2017

   VIA E-MAIL (Mialytell@hotmail.com)
   Mia Raquel Lytell
   Fort Lauderdale, Florida

  . VIA E-MAIL (Amy2mo@gmail.com)
    Amy Moore
    Daytona Beach, Florida

   VIA E-MAIL (Katrinavanessarico@gmail.com)
   Katrina Rico
   Fort Lauderdale, Florida

             Re:    Engagement of services of Balestriere Fariello (the "Firm") for
                    your matter regarding any civil claims you may have against
                    Howard Rubin and his associates. (the "matter").

   Dear Mia, Amy and Katrina:

           This letter ("Agreement") confirms the discussions we have had regarding the Firm's
   representation of you ("you," "your/' "yours," "his," ,.,her," "its," or similar pronoun means the
   party or parties who seeks representation) in your matter, pending further investigation, and
   your obligations to the Firm once you engage the Firm. We thank you for your trust in choosing
   us as your counselor and to fight for you.

           You agree that, consistent with any applicable ethical rules, the Firm has the exclusive
   right to represent you in connection with this matter to pursue any claims asserted or to be
   asserted by you in or related to this matter. The Firm's services in this matter will end, unless
   otherwise agreed upon in a written document signed by us, when there is a final agreement,
   settlement, decision, or a judgment.

          Please take care in reviewing this letter and ask us any questions of any kind you have.
   By signing this letter, you agree to be bound by its terms.

          As we can discuss at any time, we cannot and do not guarantee or represent that we can
   obtain any particular result, or that the amount of fees or costs or the length of the matter shall
   be a certain amount.
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   FEES, EXPENSES, BILLING, AND PAYMENT
          The representation of you by this Firm or any other lawyer with which we choose to
   coordinate our efforts in this matter is on the basis described below, including the payment of a
   contingency fee (the "Success Fee"). While you may pay us on an exclusively hourly rate basis,
   we both agree that you wish to proceed on a largely Success Fee basis.
   Success Fee
          Success or Share of the Recovery Fee. The Firm will receive a Success Fee based on the
   gross value we obtain for you (the "Recovery"), as defined below. The Success Fee shall not be
   limited by any taxes, liens, assessments, charges, or fees due by you, or any fees or expenses you
   owe to anyone else. The Success Fee is based on the entire Recovery.

          The Recovery is defined as inclusively as possible to encompass anything of value
   whatsoever you obtain from the engagement of the Firm whether from actual litigation,
   negotiation, arbitration, advocacy, consultation, or otherwise, including, but not limited to, by
   way of court order, judgment, award, or any agreement. It specifically includes a cash recovery
   as well as any other service or thing of value of any kind, from any source, including, but not
   limited to, the following:

       a) any transfer, purchase, or purchase rights of any assets, licensing agreements,
          any intellectual property, or any business transactions or goodwill of any kind;

       b) restitution from any source, including a government source, if our Firm has,
          prior to the payment of restitution, had any contact of any kind with the source
          or government body including, but not limited to, any communications or
          negotiations with the source; and

       c) reduction of any amount of any debt, taxes, liens, or any financing obligations
          of any kind.

           You agree that the Firm is choosing to share the risk with you in this litigation based not
  ' merely on our due diligence, but on your representations regarding the merits of your claims
    and the ability to obtain a Recovery if we are successful in prosecution of any claims you have.
    Such representations are a condition precedent to the Firm sharing the risk with you in this
    engagement.

           You may have a tax liability as a result of the Recovery and should immediately discuss
   how to address such liability, if any, with your accountant or other tax adviser. We do not have
   the requisite qualifications to provide you with advice regarding any tax liability which may
   arise as a result of the Recovery, but shall assist you however you reasonably request in finding
   such a tax adviser. IRS Circular 230 Disclosure: As required by federal law and to ensure
   compliance with requirements imposed by the Internal Revenue Service, please be advised that
   any U.S. federal tax advice is not intended to be used or relied upon, and cannot be used or relied
   upon, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii)
   promoting, marketing, or recommending to another party any transaction or matter addressed
   herein.

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             Obligations by You Do Not Reduce Success Fee. If, in any action, you are ordered or
    agree to pay any money, or provide any other service or thing of value of any kind, from any
  . source, as a party, this shall not reduce the Success Fee. As a simple example, if we obtain a
    recovery for you of $1,000.00, but you also, as part of the matter, either agree to or are ordered
    as part of a judgment, award or any other order, to pay $250.00 to another party, our Success Fee
    shall still be based on the recovery of $1,000.00, which we obtain for you, and not reduced by the
    amount ($250.00) you are ordered to pay.

           The Fil:m shall, at the Fi.J:m' s sole discretion, receive either the Success Fee of the
   following amount or attorney's fees awarded by the Court, or provided by agreement, if there
   is an order or agreement regarding attorney's fees. You agree to provide any necessary
   assistance to the Fi.J:m to seek attorney's fees from the Court, if relevant.

           The Success Fee shall be determined on the following schedule:

      •    35 % of the entire Recovery (however and whenever recovered) if the case is
           resolved before the filing of any documents of any kind with a court or other
           dispute resolution body

       •   37.5% of the entire Recovery (however and whenever recovered) if the case is
           resolved after the filing of any documents of any kind with a court or other
           dispute resolution body, but before the trial stage

      •    40% of the entire Recovery (however and whenever recovered) if the case is
           resolved before the trial stage. The "trial stage" is defined as the time after we
           have taken any steps of any kind actually preparing for trial or arbitration and
           either (1) upon the completion of discovery, including, but not limited to, once
           a settlement conference has been scheduled at or near the end of discovery, or
           (2) after litigation and resolution of motions for summary judgment, if any.

  Expenses
          Additional Charges for Expenses. You are completely and solely responsible for any out-
   of-pocket costs of any kind and any expenses actually incurred on your matter, however small.

            These include, by way of non-exhaustive example, expenses for travel (including
   reasonable client-related flights, trains, cars, lodging, reasonable meals, Internet access, and
   other expenses), off-site photocopying or document production, discovery or other litigation or
   investigations support services (which may require engagement of outside vendors, for which
   the Fi.J:m will provide you invoices including an up to 35% mark up for Firm administration and
   relationship management of the vendor), courier and messenger services, private investigators,
   shipping and postage, online legal research (billed proportionally to the amount of research done
   on your matter), proportional allocation of document-review and production programs
   allocated for your matter, expert witnesses and/ or professional vendor services of any kind,
 ' transcription services, meals for staff who must spend time during the meal working on the case,
   non-exempt employee overtime for work on your matter, late night car or cab service (when staff
 · work on your matter past 8:30pm or on weekends or holidays), electronic funds transfer or bank

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   transaction charges, and other items and services related to your matter. The Firm charges a
   minimum of $25 for any conference call, regardless of length or number of participants. It is the
   Firm's standard policy to travel via business class for any flights exceeding four hours.

            Please note that there may be instances where you will incur travel or other case-related
    expenses for scheduled court appearances or other scheduled appearances which may be
    cancelled or postponed, either by the Firm or any other party to the matter. The Firm is not
    responsible for issuing a credit or refund for any expenses actually incurred in connection with
    any cancelled or postponed events when the cancellation or postponement was unavoidable.
    During intensely litigated times in the case, such as during a stretch of depositions, an
    evidentiary hearing, or at trial, please note that we may be more likely to bill meals or take car
    service. During evidentiary hearings or trials firm staff generally will stay in hotel rooms close
  · to the court or hearing forum and will employ the hotel's provision of room service and other
    concierge services in order to save the time of staff assigned to the matter. Also, you may
    continue to incur expenses even after the litigation or arbitration has concluded since the Firm
    will continue to do work on the matter until all issues have been completely resolved by all
    parties and the matter closed by the Firm. Any expenses incurred on the matter will be
    distinguished in the invoice you receive.

           Payment. The Firm shall receive the actual payment for any Recovery or portion of the
   Recovery into the Firm's trust account. The Success Fee based on the entire eventual Recovery,
   regardless of whether the entire amount of the Recovery is received at initial payment time, shall
   then be paid to the Firm in full. Then, expenses advanced by the Firm, if any, will be deducted
   from the remainder of the Recovery and paid to the Firm. Then, any expenses owed to any
   vendors which the Firm engaged on your behalf or which you directly engaged shall be paid to
   satisfy any of your debts to such vendors. Finally, the amount of Recovery that remains will
   remain in the Firm's trust account until the undersigned has agreed to the distribution of the
   balance of the Recovery. If multiple clients are engaged, and unless otherwise directed, we shall
   distribute the remaining Recovery in equal portions to each client. All payments which
   constitute the Recovery, whenever made, shall be received first by the Firm and then distributed
   consistent with this paragraph.

            Award of Costs and Fees. The prevailing party in this litigation may be entitled to
   recover all attorneys' fees (including, in the event you are the prevailing party, the reasonable
   value of the time of all professionals in our Firm who perform legal services in any such
   arbitration or litigation, as determined by the arbitrator or judge), all experts' fees and expenses
   and all costs (whether or not such costs are recoverable that may be incurred in connection with
   either obtaining or collecting any judgment and/ or arbitration award, in addition to any other
   relief to which that party may be entitled.)

         If a court or any other body should award fees or costs against you and in favor of an
   opposing party, you will be solely responsible for payment of that amount separately from any
   amounts due to us, and without regard to the outcome of the litigation or arbitration.

          Fees and Expenses: Distinction. The different terms "fees" and "expenses" have the
   ordinary meaning as those terms are used regarding legal services.


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       •   Fees are payments to a lawyer for services and value provided by the lawyer.
       •   Expenses are moneys actually spent out of pocket on goods or services separate
           and apart from the actual services or value provided by the lawyer.

             Obligation to Pay the Firm. Should you seek the assistance of any other attorney, law
    firm, or other party to aid in the litigation of this matter, you shall remain solely responsible for
    any fees owed to the Firm, as well as to any other outside party, whether or not affiliated with
  • the Firm. Any fees or expenses owed to any outside party will not diminish the amount of fees
  · owed to the Firm. You agree to fulfill your outstanding fee obligations to the Firm prior to the
    fulfilling of any obligations to any new attorney, affiliated or not, with our Firm. You agree that
    the Firm reserves all rights we have to fees, whether in quantum meruit, contract, or any other
    form. You also agree to notify us in writing if you engage or obtain the services of any other
    lawyer at any time to represent you in the matter.

            Estimates. All dispute resolution is by definition inherently risky and unpredictable.
  · Consequently, although we may offer an opinion about the possible or probable course or results
    of our engagement, including fees and costs needed to complete the matter, we cannot and do
    not guarantee or represent that we can obtain any particular result, or that the amount of fees
    or expenses shall be a certain amount or less. Any projections we make regarding costs shall
    be made in good faith, but are not guaranteed regarding what the actual cost will be. The cost
    of dispute resolution may change dramatically based on factors we do not control, including, for
    example, actions taken by our adversary, rulings by the court or other dispute resolution body,
    changes in the law, or other developments in the dispute resolution. The actual fees and costs
    for which you will be liable will be based on this Agreement. Past results do not guarantee future
    outcomes.

          Lien. You agree that the Firm will have a lien for its fees and costs (including expenses)
   advanced on all claims and causes of action subject to its representation of you under this
   Agreement and on all proceeds of any Recovery obtained (whether by settlement, arbitration
   award, court judgment, or any other means, regardless of whether the Firm is counsel of record,
   and regardless of whether the relationship between you and the Firm is terminated).

   LEAD REPRESENTATION, MAJOR DECISION MAKING, AND AUTHORITY
            As long as the Firm represents you in any way in this matter, the Firm shall remain lead
   counsel. This means that the Firm shall have primary authority in the matter compared to any
   other lawyers or advisors, and any other attorney, law firm, or other party that may aid in the
   litigation of this matter shall not make any tactical, strategic, and litigation decisions without the
   Firm's prior written consent.

           The Firm shall make all tactical, strategic, and litigation decisions in the matter we are
   ethically permitted to, including any public relations decisions (including dealing with any
   media and issuance of any public statements of any kind, including press releases). However,
   we shall discuss all major decisions in the case with you. You acknowledge that we have that
   right to publicize or otherwise distribute public information regarding the matter.




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          Coordination. In addition, Crotty Saland, LLP (Crotty Saland"), shall work with the Firm
  on your matter pursuant to the following terms. You hereby consent to the terms of the
  following fee-sharing arrangement between the Firm and the Crotty Saland Firm prior to the
  time of the proposed association between attorneys. These terms shall not increase any fees due
  by you under this Agreement.

      •   The Firm and Crotty Saland shall split the Success Fee recovered by the matter.
          Crotty Saland shall receive 50% of the Success Fee, if the matter is resolved prior
          to filing any complaint with any court or dispute resolution body, and 30% if the
          matter is resolved after the filing of any complaint with any court or dispute
          resolution body.

      •   The Firm and Crotty Saland assume joint responsibility for the representation for
          as long as this fee-sharing agreement is in effect, and the division of the Success
          Fee is based upon this joint responsibility. In accepting joint responsibility, Crotty
          Saland will make reasonable efforts to assure adequacy of representation, provide
          adequate client communication, respond to client questions, and assist the Firm
          when necessary.

      •   You acknowledge and understand that Crotty Saland and the Firm are not in or a
          part of the same firm. You further acknowledge that the total fee to be charged is
          reasonable, not excessive and not unconscionable considering, among other
          things, the nature of the fee agreement (contingency fee), the legal expertise
          involved in the representation, the legal issues involved in the representation, and
          the amount of work and investment of resources necessary to prosecute your case.

          Settlement. The Firm will notify you promptly of the terms of any settlement offer
  received by the Firm. If, however, you instruct the Firm to settle contrary to the advice of the
  Firm, reject a settlement offer the Firm recommends, or do not settle at all when the Firm
  recommends to do so, the Firm will be entitled, at its sole option, to the greater of (i) a fee
  calculated in accordance with the percentages set forth in the Success or Share of the Recovery
  Fee paragraph above, applied to the amount of the proposed settlement we recommend, or (ii)
  its attorneys' fees, (including its fees for the services of any employees or affiliates of the Firm
  calculated at the Firm's non-discounted hourly rates, as well as reimbursement for all costs
  (including expenses) advanced before the settlement offer).

           The Firm will not settle your claim without your approval, but we ask you to understand
 • at the beginning of this engagement that we should be compensated for time we continue to
   devote to a matter if we have obtained a settlement amount which we recommend and which
   you reject. Subject to the foregoing, you shall have the absolute right to accept or reject any
   settlement.

          You, in turn, agree that you shall not settle or make any offers of compromise without
  the Firm's participation and that, if you do, you shall immediately owe the Firm, at our sole
  discretion, either the Success Fee as define by this agreement or our attorney's fees charged at
  our standard, undiscounted hourly rates for all time we devote to the matter.


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            Compensation for Other Matters. The engagement of the Firm pursuant to this
    Agreement encompasses only our representation in the matter. As noted above, until we come
    to another agreement, if we perform legal services for you on any other matter, you agree to
    pay the Finn based on our standard hourly rates and to reimburse us for our costs as set forth
  , in a separate invoice or invoices to you, which are payable on receipt.

           Direct Engagement of Third Party Professional Services. You agree that you may execute
   any necessary contracts, agi·eements, or statements of work with any third-party vendors or
   experts.

            Borrowed Firm Funds. In accordance with the New York State Bar Association's Ethics
    Opinion 754-2/25/02, as well as the applicable ethics opinions of other states, it is ethical for an
    attorney to borrow funds from a third-party lender to cover litigation expenses, or to fund his
    law practice, and the interest charged by the lender to a lawyer on the funds borrowed by the
  · lawyer to fund litigation expenses may be passed on to you as a legitimate litigation expense if
    certain conditions are met:

       •   You must remain ultimately liable for expenses paid under Rule l.8(e) of the
           New York Rules of Professional Conduct,
       •   the lawyer cannot have any interest in the lender,
       •   client confidentiality cannot be compromised,
       •   the terms of the borrowing are disclosed with adequate advance notice to you,
       •   the time after which interest is charged to you, and the loan interest rate, are
           both reasonable,
       •   you have consented to the loan in advance of the closing thereof,
       •   you are permitted to avoid paying the interest charges by paying the funded
           disbursements before the loan is taken, and
       •   the disbursements themselves must be fair and appropriate to the case.

           See also, Association of the Bar of the City of New York, Formal Op. 1997-1. Please note
   that if all conditions are met, and the Firm uses a portion of said loan to fund the matter, an
   interest expense will be passed on to you.

   LIMITATION OF SCOPE OF SERVICES
           The litigation or arbitration of any related claims or defenses, or any claims against any
   other parties shall be subject to separate engagement. We welcome the opportunity to serve you
   further, so please do not hesitate to ask us about this.

          Not included within the scope of our representation is any work of any kind involving
   any party other than those names above, as well as any appeals, addressing counter-claims or
   claims of any kind against you in this or any other matter, or enforcement of judgments. Such
   other services are subject to separate discussions and negotiation between our Firm and you.
   Any such services the Firm provides shall be billed to you at an hourly rate basis unless and
   until we do come to a separate engagement regarding such services.



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          Also, not included in the scope of this engagement are services you may request in
   connection with any other matter, action, or proceeding, including any general counselling to
   you or your company.
   WAIVER
           Waiver of Future Conflicts with Any Adverse Party. We may currently or in the future
   represent one or more other clients in matters that may in some way relate to your current
   matter. We are undertaking this engagement on condition that we may represent other clients
   in matters in which we do not represent you, even if the interests of the other clients are adverse
   to yoms, including the appearance on behalf of another client adverse to you in litigation or
   arbitration, provided that the other matter is not substantially related to our representation of
   you, and that in the course of representing you we do not obtain confidential information from
   you material to the representation of the other clients. If our Firm does not continue an
   engagement or is required to withdraw from a matter due to a conflict of interest, you may incur
   delay, prejudice, or additional cost associated with acquainting new counsel with the matter.

            Your express consent to this arrangement is required, however, because of the
    arrangement's possible adverse effects on the performance of om duties as attorneys to remain
    loyal to each client, to maintain client confidences, and to render legal services with vigor and
  . competence.

            By yom signature below, you hereby waive any right you may have now or in the future
   to object to, or to disqualify the Firm from, representation of any third party in any future
   litigation. You further acknowledge that you make this express waiver voluntarily, knowingly,
   and intentionally, in consideration of the Firm's Agreement to represent you in this matter.

            Nothing in this letter permits us to represent in any fashion in this matter a party which
    is actually adverse to you in this matter. Such action is unethical and something the Firm would
    never do. Upon engagement by you in this matter, we cannot represent any party whose
  . interests are adverse to yours in this matter.

   POTENTIAL TERMINATION OF RELATIONSHIP
            Initial Termination of Services. If, after our initial investigation and before we file any
  · complaint or notice of any kind, we decide not to continue to represent you in this matter, we
    shall notify you of that decision and our services will be terminated. After that point there will
    no longer be an attorney-client relationship between us, and we will not represent you further
    in this matter.

           Moreover, at any time after the execution of this Agreement or any future engagement
   Agreement or amendment, you agree that we have the right to stop representing you in this
   matter, consistent with our ethical obligations, and you have the right to terminate our services
   without cause. If we decide to stop representing you, we shall notify you of that decision, and
   all of our services in this matter will be terminated.

           Withdrawal. The Firm may withdraw from engagement at any time permitted by law.
   The circumstances under which it may be permissible to withdraw include, but are not limited
   to, the following: (a} upon your consent, or (b) if we determine that you have made a material

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   misrepresentation to the Firm or omitted to disclose a material fact to the Firm, or (c) if, in the
   Firm's opinion, your conduct renders it unreasonably difficult for the Firm to carry out its
   retention effectively.

             In the unlikely event that circumstances make it necessary to do so, we may withdraw
    with good cause from this engagement for nonpayment of fees or expenses or for any other
  . reason authorized or required by the applicable rules of professional conduct. Notwithstanding
    the Firm's withdrawal, you will be obligated to pay the Firm its fees set forth in this Agreement,
  . including, at our sole discretion, either the Success Fee (as defined above in percentages
    according to stage when the Recovery was achieved or what the end Recovery was, regardless
    of whether we were providing you services at the time of any Recovery or other successful result
    of any kind), or our attorneys' fees, (including its fees for the services of any employees or
    affiliates of the Firm calculated at the Firm's non-discounted hourly rates, as well as
    reimbursement for all costs (including expenses) advanced before the settlement.)

          We hope that this relationship continues for the life of this matter, and we would only
   terminate our services consistent with our ethical obligations.

  .        Client's Termination of Services. You are entitled to terminate this engagement for any
  · reason, subject to the Firm's right to be paid for services already rendered and expenses already
    incurred on your matter or any other service the Firm has provided for you.

           If you decide to terminate the Firm without good cause shown, and without such specific
   cause or causes made explicit to us in writing, we shall still be due, regardless of whether we
   were providing you services at the time of any successful result of any kind (settlement or
   otherwise), our attorneys' fees. Our attorneys' fees shall be, at the Firm's sole discretion, either
   the fees as provided for in this engagement letter, or our fees on an hourly rate basis for the
   services of any employees or affiliates of the Firm calculated at the Firm's non-discounted hourly
   rates. The Firm shall also be due full reimbursement for all costs expended in any way on your
   behalf.

          The Firm reserves all rights, including the right to litigate to seek any unpaid fees, should
   we so choose.

           We hope that neither you nor we will seek to terminate the relationship prior to the
   resolution of the matter. While the fee arrangement described in this Agreement otherwise
   controls, if either of us does decide to terminate the relationship, we agree to discuss the best
   way to resolve any fee arrangement.

   ARBITRATION REGARDING A FEE DISPUTE
             In the event that a dispute arises between us relating to our fees, you may have the right
   to arbitration of the dispute pursuant to Part 137 of the Rules of the Chief Administrator of the
   Courts, a copy of which is attached to this Agreement.




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  COOPERATION AND TRUST
         You agree to cooperate and fully participate in the conduct of any matter in which we
  provide services to you, including providing us with information we need in order to adequately
  represent you and provide the services you wish.

          Such cooperation also includes, but is not limited to:

      •   reasonably being available for meetings in our office and for phone calls;
      •   promptly responding to any correspondence we send to you, including e-mails;
      •   timely paying invoices, and raising any concerns you have with any invoices
          with us immediately;
      •   raising issues of concern with us, of any kind, promptly, respectfully, and
          without delay;
      •   devoting your own time necessary to work with us to achieve as successful a
          resolution as possible in your matter;
      •   being available to review drafts of documents, should we request, which you
          acknowledge are sent to you in draft form.
      •   promptly providing truthful and complete responses to any requests for
          information, and not failing to disclose information or omitting information of
          any kind whatsoever which is material to the matter or to our attorney-client
          relationship; you promise to provide this information even if you believe you
          have previously disclosed the requested information (please understand that
          such repeated requests are commonplace and necessary, particularly at the
          beginning of a matter, so that we fully understand the facts and can be the best
          advocates we can be for your position);
      •   trusting that we will always endeavor to have our Firm take whatever steps we
          believe necessary, and spend whatever time is warranted, in order to provide
          you with superior legal representation and counseling (we are organized to be
          efficient, and shall always strive to be, but will not be so at the expense of
          quality work product or our ethical obligations);
      •   being prepared to push this case to trial or arbitration if necessary (unless we
          agree in writing that the engagement is for a limited purpose, you should NOT
          engage us unless you are prepared to go the distance in this matter and push
          the case to arbitration or trial);
      •   committing to engage only in legal and ethical conduct, and conduct which
          comports with any applicable laws, rules, and regulations.

  INDEMNIFICATION
           You agree to indemnify and hold harmless the Firm from any and all actions, suits,
   proceedings, and investigations brought by third parties for damages, obligations, penalties,
 · judgments, awards, liabilities, costs, expenses and/ or disbursements directly or indirectly
   caused by, relating to, based upon, arising out of, and/ or in connection with your engagement
   of services by the Firm. Your obligations to indemnify the firm shall not apply under those
   circumstances where there has been a finding of ethical or legal misconduct by the Firm.



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            This provision shall in no way limit your right to bring a legal malpractice claim against
   the FiJ:rn to the extent permitted by law.

   DISPOSITION OF FILES
           After the conclusion of your matter, you have the option to take possession of your file,
   at your expense. It will be your obligation to maintain current contact information with the Firm.

   ENTIRE AGREEMENT AND SEVERABILITY
           This Agreement contains the entire understanding of you and the FiJ:rn with regard to
   our provision of services to you. If any provision of this Agreement is held in whole or in part
   to be unenforceable for any reason, the remainder of that provision and of the entire Agreement
   will be severable and remain in effect.

  . TOINT REPRESENTATION AND INSURANCE
          Taint Representation. As you know, the Firm has been engaged to represent Mia Lytell,
   Arny Moore, and Katrina Rico in the above-referenced litigation. Please see Appendix A,
   incorporated here by reference, to understand the benefits and consequences of joint
   representation.

   INDEPENDENT COUNSEL
           You acknowledge that you had sufficient time to review this Agreement and consult with
   other attorneys or advisors concerning this Agreement if you so desire, and that you have freely
   determined to execute this Agreement without duress.

   COMMUNICATION
           It is important to us that our clients be aware of the progress of theiJ: matters, and that
   they have the full opportunity to ask us any questions that may arise. Accordingly, we hope you
   will feel free to contact us - either in our office, on our mobile phones, or via e-mails -with any
   questions, whether relating to the case, your invoices, the fees, or anything else regarding our
   relationship.

   SCOPE AND ENFORCEMENT OF THIS AGREEMENT
           This Agreement may not be amended, waived, or modified without the mutual written
   consent of all of the parties hereto. This Agreement shall be governed and construed in
   accordance with the laws of the State of New York without regard to any applicable principles
   of conflicts of law.

            In the event that Part 137 of the Rules of the Chief Administrator of the Courts (a copy of
    which is attached hereto) does not apply, or if you otherwise elect not to proceed under Part 137
    of the Rules of the Chief Administrator of the Courts, any dispute, claim or controversy arising
    out of or relating to this Agreement, including without limitation the Firm's representation of
    you, or the breach, termination, enforcement, interpretation or validity thereof, including the
    determination of the scope or applicability of this agreement to arbitrate, shall be determined by
  · arbitration in New York, New York before one arbitrator.

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            The arbitration shall be administered by JAMS pursuant to the expedited procedures set
    forth in JAMS's Comprehensive Arbih·ation Rules and Procedures as those Rules exist on the
  · effective date of this Agreement, including Rules 16.1and16.2 of those Rules, unless the parties
    otherwise agree in writing to other rules which shall apply. Judgment on the Award may be
    entered in any court having jurisdiction. This clause shall not preclude parties from seeking
    provisional remedies in aid of arbitration from a court of appropriate jurisdiction.

            In any arbitration arising out of or related to this Agreement, the arbitrator shall award
    to the prevailing party, if any, costs and attorneys' fees of any kind reasonably incurred by the
    prevailing party in connection with the arbitration, including any costs reasonably incurred
    prior to initiation of the arbitration but related in any way to a breach of this Agreement. If the
    arbitrator determines a party to be the prevailing party under circumstances where the
    prevailing party won on some but not all of the claims and counterclaims, the arbitrator may
    award the prevailing party an appropriate percentage of the costs and attorneys' fees reasonably
  · incurred by the prevailing party in connection with the arbitration.

          You agree that this Agreement may be executed in identical counterparts and may be
   transmitted by facsimile or e-mail, each of which shall be deemed an original for all purposes.

         Besides signing below, please write your initials and the date on every page of this
   agreement.

                       If you have any questions about anything at all, please do not hesitate to contact us.

                       We look forward to fighting for you and being your advisor.

                      Sincerely,

                       Isl John G. Balestriere                                                                      August 21, 2017
                       John G. Balestriere                                                                          Date
                       Balestriere Fariello



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                                                                                                                    nlte 7
                       Katrina Rico


  · cc:         Jeremy Saland, Esq. (via email: jsaland@crottysaland.com)

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                                                                            APPENDIX A: Joint Representation

   An undertaking by a lawyer or law firm to represent multiple clients in the same matter is called
   a "joint representation." Such an arrangement permits certain savings of costs that otherwise
   would be incurred if each client retained separate counsel. In this particular case, you have
   agreed to share costs with the other parties represented by this Firm, including Mia Lytell, Amy
   Moore, and Katrina Rico.

   Joint representation is not mandatory in this matter, however, and you hereby acknowledge that
   you have the right to retain your own independent counsel. You should also feel free to consult
   with separate counsel about the substance of this Agreement, and you remain free to seek the
   advice of separate counsel at any time even if you agree to this joint representation.

   The applicable rules of professional responsibility permit the representation of clients in the
   same matter provided that the lawyer or Firm can adequately represent each client's interests
   and each client knowingly consents to the joint representation. Because you share with the other
   parties represented by the Firm a common interest in this matter, there does not appear to be an
   actual conflict between you in the pursuit of that common interest.

   There exists, however, the potential for conflict. Also, as in any case involving multiple
   defendants/plaintiffs, the interests of the co-defendants/plaintiffs may diverge during the
   course of the litigation, even though they do not actually conflict. For example, one
   defendant/ plaintiff may prefer a quick settlement of the matter while another desires a vigorous
   defense/ prosecution. Although we are not currently aware of any actual or reasonably
   foreseeable adverse effects of joint representation, it is possible that issues may arise in which
   our representation of one of you may be materially limited by our representation of another. If
   such circumstances arise, we must together evaluate whether continued joint representation is
   appropriate, as discussed below.

   It is our understanding that you do not seek to assert claims against any of the other parties we
    are representing in the action. We could not assert any such claims on your behalf as we would
    have a conflict of interest. We thus are not advising you, and have not advised you, whether
    you would or would not have claims against any other parties we are representing in the action.
  , If you believe that you might have such claims, you should engage other counsel to advise you
  . with respect to such claims, and if you want to assert such claims in this action, you should
    advise us immediately, as we would not be the proper counsel to represent you in this action.

   We understand that you do not object in any way to the Firm representing you in this matter
   and that, to the extent that any potential conflict may exist or appear to exist, you waive any
   such conflict. Based on the information provided to us, and your expressed desire for joint
   representation, we have concluded that we may appropriately represent you in this matter.

   If at any time you have any concerns about the appropriateness of continued joint representation,
   you should let us know immediately so that we can reevaluate our continuing representation of
   each of the parties in this action. If we become aware of any such circumstances, we will do the
   same.


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   In the event that joint representation is no longer appropriate, by virtue of any adversity, dispute,
   or conflict that may arise between any of the clients we represent, we will determine which of
   you we will continue to represent and will offer to assist the others to find appropriate substitute
   counsel. You agree that, in such circumstances, you will consent to our continued and future
   representation of those whom we elect to continue to represent and will not seek to disqualify
   the Firm from such representation, and will assent to the Firm's withdrawal as attorney of record
   for you. In the event that the Firm withdraws from representing you, we will take reasonable
   steps to avoid any reasonably foreseeable prejudice.

   In addition, if you proceed to accept the benefit of our services in this matter, that will indicate
   and confirm your Agreement: (i) that the Firm's representation of you hereunder is not a conflict
   or to the extent a conflict exists, you waive such conflict; (ii) such representation shall not
   disqualify the Firm from representing any other member of the group in an unrelated matter
   when that member may have interests that are or may be adverse to you or your company; and
   (iii) that you will not seek to disqualify the Firm from any such representation.

  ' In the ordinary one lawyer/ one client relationship, confidential communications between the
  · lawyer and the client are privileged from disclosure to any third party without the client's
    consent. This privilege also exists in a joint representation with an important qualification: a
    confidential communication between the lawyer and client may not be disclosed to third parties,
    but may be shared with other jointly-represented clients. In other words, any communication
    between you and the Firm relating to this action may be disclosed to the other clients who agree
    to this joint representation.

   We will continue to keep you informed about any material developments in the case. We will
   also notify you and consult as appropriate regarding any settlement proposals. In the event a
   joint settlement proposal is made, we will seek written consent from each represented party
   before entering into a settlement relating to the claims in this matter (unless you are only a
   defendant with no claims against any party and the settlement results is a dismissal of all claims
   against you without committing you to do or pay anything). As there are a number of different
   claims or potential claims here, it is possible that a settlement may be proposed involving only
   certain claims. Before entering into such a proposed settlement, we will only seek written
   approval from those of you who have or are named as a defendant in the specific claims being
   settled.




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                           Attorney-Client Fee Dispute Resolution Program

    The New York State court system has established a Statewide Fee Dispute Resolution Program
  , (FDRP) to resolve attorney-client disputes over legal fees through arbitration (and in some cases
    mediation). See the full program description here
    http: I I www.nycourts.gov I admin/feedispute/ pdfs/ FD brochure.pdf).

   The FDRP is made up of a network of State-approved and monitored local programs that resolve
   attorney-client fee disputes outside of court through arbitration. Arbitration is a hearing
   conducted by one or more neutral persons who have special training and experience. One
   arbitrator or a panel of three arbitrators (at least one of whom must be a non-lawyer) listen to
   the arguments on both sides and decide the outcome of the dispute. Fee arbitration is fair,
   inexpensive and usually faster than going to court.

   In addition to arbih·ation, some local programs may offer mediation. This is a process by which
   both sides meet with the assistance of a trained mediator to clarify issues and explore options
   for a mutually acceptable resolution. Mediation provides the opportunity for you and your
   attorney to discuss your concerns and reach a satisfactory result without going to court. Unlike
   an arbitrator, the mediator does not issue a decision. Participation in mediation is voluntary for
   your attorney and you, and it does not waive your right to arbitration. If you are interested in
   resolving your dispute through mediation, you may indicate this on the Request for Arbitration
   form. However, not eve1y local program offers mediation.

   The FDRP' s Board of Governors has approved a number of local programs which administer the
   FDRP on a region by region basis. These local programs are run by bar associations or by the
   court system's regional Administrative Judges. All local programs have been carefully reviewed
   to ensure that they will resolve fee disputes in a fair, impartial and efficient manner.

    In general, your lawyer may not sue you in court over a fee dispute unless he or she first
    provided you with notice of your right to utilize the FDRP. Once you have received this notice
  . you have 30 days to decide whether to use the FDRP. If you don't choose to participate in the
    FDRP within 30 days, your lawyer is free to pursue the matter in court.

    Fee dispute resolution services are provided by local programs throughout New York. The local
  · program is determined by where the majority of legal services were performed. Find your local
  . program
    (http://www.courts.state.ny.us I admin/ feedispute /local programs.shhnl)
    and download the local program's rules and forms.

   Please note that the FDRP' s jurisdiction is limited to resolving attorney-client disputes over legal
   fees.

      •   The FDRP cannot address claims of lawyer misconduct.
      •   The FDRP cannot address claims of lawyer malpractice.
      •   The FDRP applies when:
             o Your attorney practices in New York and your case involved a civil
                matter.
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              o   The amount in dispute is between $1,000 and $50,000 (fee disputes can
                  involve fees that you have already paid your attorney and for which
                  you seek a refund, or fees that your attorney claims are owed by you).
              o   The legal representation began on or after January 1, 2002.
              o   Your attorney has rendered services to you within two years prior to
                  the filing of the request for fee arbitration.

    If you believe that your attorney committed malpractice in your case, you should not utilize the
    FDRP because it is possible that an arbitration decision against you with regard to the fee dispute
  , could adversely affect your ability to pursue malpractice in court at a later date.

  If you believe attorney misconduct or malpractice is present in your case, please find contact
  information for the appropriate Grievance Committee
  (http: I Iwww.courts.state.ny.us I ip I attorneygrievance I complaints.sh tml) .




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